Case 6:14-cv-02085-CEM-GJK Document 17 Filed 02/16/15 Page 1 of 3 PagelD 117

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
JOSEPH MACARTHUR,
JAMIE VILLALOBOS, and
JESUS HERNANDEZ,

Plaintiffs,

vs. Case No: 6:14-cv-2085-Orl-41GJK

US CORRECTIONS LLC

USG7, LLC

ASHLEY JACQUES aka ASH JAQUES, and
STEVEN L. JACQUES,

Defendants.
/

PLAINTIFF, JOSEPH MACARTHUR’S, RESPONSE TO COURT’S
INTERROGATORIES
1. 2/14 — 8/14. Started as USG7 and then transitioned to US Corrections.
2. Ashley Jacques, Oreida Stone
3. I worked every week 135 hours — 168 hours weekly
4. F90— Training Incoming Officers, also extraditions etc., everything.
5. $8 an hour
6. Plaintiff believes that all of the following apply to his claim:
a. Off the clock work (Defendant failed to record, or prohibited your from
recording, all of your working time;
b. misclassification (Defendant mistakenly classified you as exempt from
overtime;

¢. miscalculation (Defendant failed to correctly calculate your
compensation);
Case 6:14-cv-02085-CEM-GJK Document17 Filed 02/16/15 Page 2 of 3 PagelD 118

d.

SP

Other: In addition to the overtime issue, Defendants have failed and
refused to give Plaintiff his final paycheck.

2/14 - 8/15/14
Numbers based on the following:
i. From the time period of May 19, 2014 to August 10, 2014(based
on payroll records provided by Defendants): 480 hours
ii. From the time period of February 1, 2014 to May 18, 2014(no
payroll records provided by Defendants, these numbers based on
averages): 600
Numbers based on the following:
i. From the time period of May 19, 2014 to August 10, 2014(based
on payroll records provided by Defendants): 1,125.50 hours
ii. From the time period of February 1, 2014 to May 18, 2014(no
payroll records provided by Defendants, these numbers based on
averages): 1,406
Numbers based on the following:

i. From the time period of May 19, 2014 to August 10, 2014(based
on payroll records provided by Defendants): $9,716 pay received.
$17,346 should have been paid. (This amount includes 80 hours of
unpaid regular hours as Plaintiff did not receive his last paycheck.)

ii. From the time period of February 1, 2014 to May 18, 2014(no°
payroll records provided by Defendants, these numbers based on
averages): $16,648.00 pay received. $21,672.00 should have been
paid.

$39,018.00. Amount does not include statutory rights such as liquidated
damages, fees, or costs.

a. n/a
b.

n/a

9. Plaintiff's counsel has spent approximately 60 hours to date. His hourly rate
would be in the range of $200 to $300 an hour. Costs at this point are
approximately $600, which includes the filing fee.

10. August 23, 2014.

11. Oral

12. I was told that I would be paid no later than September 10, then Ash Jacques went
missing and never returned any of my communications.
Case 6:14-cv-02085-CEM-GJK Document 17 Filed 02/16/15 Page 3 of 3 PagelD 119

al. hlnw no

J h MacArthur

STATE OF FLORIDA
COUNTY OF Beachy
BEFORE ME, the undersigned authority, on this day, personally appeared Plaintiff Name, who being first

duly sworn, deposes and says that he/she has read the foregoing Answers to Interrogatories, knows the contents of
same, and to the best of his/her knowledge and belief, the same are true and correct.

SWORN TO AND SUBSCRIBED before me on this 72 day \AnUw ty 2015.
NOTARY PUBLIC

ES Grso, Mo
Signature of Person Taking Acknowl ant {
Print Name: SQ UALR he NA chase
Title: Notary Public

Serial No. (if any): ew ag 9449
Commission Expires: o3-25 —- 20\7

 

~

ae DANA MCMICHAEL
PAYA Stderipry Public - State of Florida §
a Jez My Comm. Expires Mar 25, 2017
cae Commission # £E 879489

 
   
 

   
    
